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                   EXHIBIT B
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                                              Exhibit B



                     9/11       9/11
      9/11           Decedent   Decedent             Economic                        Total
      Decedent       Middle     Last                 Damage        Non-Economic      Damage
      First Name     Name       Name        Suffix   Amount        Damage Amount     Amount
1.    Denease                   Conley               TBD           $2,000,000        TBD
2.    Lee            Alan       Adler                TBD           $2,000,000        TBD
3.    James          V.         DeBlase              TBD           $2,000,000        TBD
4.    Francesco                 Garfi                TBD           $2,000,000        TBD
5.    Patrick                   McGuire              TBD           $2,000,000        TBD
6.    Rocco                     Medaglia             TBD           $2,000,000        TBD




                  TOTAL $12,000,000 + economic loss amounts to be determined (“TBD”)
